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 Name and address:
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                                                   UNITED STATES DISTRICT COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                                 CASE NUMBER
 Philips Lighting North America Corporation et al.
                                                              Plaintiff(s),                           2:l 7-cv-04995-R-AGR

                     v.
                                                                                   APPLICATION OF NON-RESIDENT ATTORNEY
 Deco Enterprises, Inc.                                                                  TO APPEAR IN A SPECIFIC CASE
                                                           Defendant(s),                              PROHACVICE
INSTRUCTIONS FOR APPLICANTS
 ( 1)         The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
              Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED.
              Space to supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued
              within the last 30 days) from eve1y state bar to which he or she is admitted; failure to do so will be grounds for denying the
              Application. Scan the completed Application with its original ink signature, together with any attachment(s), to a single Portable
              Document Format (PDF) file.
 (2)          Have the designated Local Counsel file the Application electronically (using the Court's CM/ECF System), attach a Proposed Order
              (using Form G-64 ORDER, available from the Court's website), and pay the required $325 fee online at the time of filing (using a
              credit card). The fee is required for each case in which the applicantfiles an Application. Failure to pay the fee at the time offiling
              will be grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $325 fee.
              (Certain attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.)
              A copy of the G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I-INFORMATION
 George R. McGuire
 Applicant's Name (Last Name, First Name & Middle Initial)                                             check here iffederal government attorney D
 BOND, SCHOENECK & KING, PLLC
 Firm!Agency Name
 One Lincoln Center                                                           315-218-8515                         315-218-8100
 110 W. Fayette Street                                                        Telephone Number                     Fax Number
 Street Address
 Syracuse, NY 13202                                                                                  gmcguire@bsk.com
 City, State, Zip Code                                                                                  E-mail Address

I have been retained to represent the following parties:
                                                                              IE] Plaintiff(s) D Defendant(s) D Other:
 Philips Lighting North America Corporation                                                                               ---------
 Philips Lighting Holding B.V.                                                !El Plaintiff(s) D Defendant(s) D Other:
                                                                                                                          ---------
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.
                      Name of Court                          Date ofAdmission            Active Member in Good Standing? (if not, please explain)
State of New York                                              July 17, 1997            Yes
U.S. District Court Northern District of NY                September 22, 1997           Yes
U.S. Court of Appeals for the Federal Cir.                    October 2, 1998           Yes

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 List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
 needed):
         Case Number                                     Titie ofAction                             Date ofApplication        Granted /Denied?




 If any pr•o hac vice applications submitted within the past three(3) years have been denied by the Court, please explain:




 Has the applicant previously registered as a CM/ECF user in the Central District of California?          ~ Yes         0 No
 If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above? ❑ Yes                ~x No


                                                                                               Previous E-mail Used (ifapplicable)

 Attorneys must be registeredfor the Court's Case Management/Electronic Case Filing("CM/ECF')System to be admitted to practice pro hac
 vice in this Court. Submission ofthis Application will constitute your registration (or re-registration) as a CM/ECF User. Ifthe Court signs an
 Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
 will be associated with your case. Pursuant to Local Rule 5-3.2.3, registering as a CM/ECF User is deemed consent,for purposes ofFed. R. Civ.
 P. S(b)(2)(E), to electronic service of documents through the CM/ECF System. You have the right to withhold or revoke your consent to
 electronic service at any time; simply complete and return a Central District Electronic Service Exemption Farm (Form G-O5, availablefrom
 the Court's website). If the Court receives an Electronic Service Exemption Form from you, you will no longer receive notice by e-mail when
 Court orders or other documents are filed in cases in which you are counsel of record; instead, copies ofsuch documents will be sent to you
 through the mail.

 SECTION II -CERTIFICATION
 I declare under penalty of perjury that:
(1) All of the above information is true and correct.
(2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
     professional, or other activities in the State of California.
(3) I am not currently suspended from and have never been disbarred from practice in any court.
(4) I am familiar with the Court's Local Civil and Criminal Rules> the Federal Rules of Civil and Criminal Procedure,
     and the Federal Rules of Evidence.
(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
     maintains an office in the Central District of California for the practice oflaw, as local counsel pursuant to Local
     Rule 83-2.1.3.4.


             Dated July 27,2017                                        George R. McGuire
                                                                       Applit           e.f~t,se r e or print}

                                                                           r~~~~               1
                                                                  ---~pliea~ nt's Signature



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